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April 2"*, 2021
TO: The Judge presiding In the case of Julian Elie Khater

Your Honor,

My tame is Michael Khater, 1 am Julian Khater’s only older brother, and hence have known
him his entire life. iam writing you today te-tell you what | know about Julian.

Julian was the quiet, sweet, gentle, shy, smiling, cheerful child that all parents wanted their
kids to be friends with. Although he wasn’t the most outgoing, Julian was extremely popular
among friends, did very well throughout his academic endeavors, and was a standout.
athlete. While all the other guys in our town were out hunting, fishing, etc., Jullan would
convince his group to stay behind, and he would be playing basketball or table tennis with
the younger family members and their friends, to keep them happy and entertained.

These are some of many reasons why | chose Julian to be the Godfather of my firstborn son.
He Is dependable, reliable, well-rounded, absolutely fantastic with my kids, and, most of all,
calm, considerate, gentle, and ALWAYS nice. Julian would never hurt a fly. At least, in the 32
years he’s been alive, { haven't seen it or even thought it could be possible. The thought of
fulian planning or executing anything detrimental to himself or to others Is simply
inconceivable. When we would go aut to eat together, sometimes after a long day at work,
Jutian couldn‘t aven plan where and what to have for dinner, let alone plan anything else.
He was a work-to-home, home-to work type of a person, always.

While | understand the dark cloud hanging above this issue, | am writing to assure you that
Julian is not the person he is being palnted out to be. He is sweet, gentle, calm, and would
hever hurt anything or anyone, ever. His academic and entrepreneurial success, combined
with his complete lack of any history of anything negative whatsoever, are testament to his
character, and I hope my above statements have added to that track record of success in
the community, in the workplace, and in life in generat.

Please do not hesitate to contact me should you need anything further regarding this
matter,

All the best,
Michael Xhater

 

 

 
